                                                                                       MAR I 8 2025
                 IN THE UNITED STATES DISTRICT COURT FOR TH                                              y
                         EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division                         CLERK, U.S, DISTRICT COURT
                                                                                       ^HMOND, VA

 UNITED STATES OF AMERICA                       )    UNDER SEAL
                                                )    Case No. 3:25-CR-
                                                )
 V.                                             )    18U.S.C. §2252A(a)(5)(B)
                                                )    Possession of Child Pornography
                                                )    (Count I)
 ALLAN DARRJELL MARTIN, JR.,                    )
                                                )    18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1)
             Defendant.                         )    Receipt of Child Pornography
                                                )    (Count 2)
                                                )
                                                )    Forfeiture Notice


                           March 2025 Term - at Richmond, Virginia

                                         INDICTMENT


       THE GRAND JURY CHARGES THAT:


                                    Introductory Allegations


       At all times material to this Indictment, unless otheiwise stated:

       1.      The defendant ALLAN DARRELL MARTIN, JR. resided in the Richmond

metropolitan area and within the Eastern District of Virginia.

                                          COUNT ONE
                               (Possession of Child Pornography)

       2.      On or about July 17, 2024, in the Eastern District of Virginia and within the

jurisdiction of this Court, the defendant, ALLAN DARRELL MARTIN, JR., knowingly possessed

material that contained an image of child pornography, as defined in Title 18, United States Code,

Section 2256(8), to wit, one or more digital files contained on a Black ASUS Laptop Computer,

serial number: F1N0WU03581602B, which had been mailed, shipped and transported using any

means and facility of interstate and foreign commerce, and was produced using materials that had
been mailed, shipped and transported in and affecting interstate and foreign commerce, including

by computer.

       (In violation of Title 18, United States Code, Section 2252A(a)(5)(B).)

                                         COUNT TWO
                               (Receipt of Child Pornography)

               On or about September 24, 2023, in the Eastern District of Virginia and within the

jurisdiction of this Court, the defendant, ALLAN DARRELL MARTIN, JR., knowingly received

any child pornography, as defined in Title 18, United States Code, Section 2256(8), to wit, one or

more digital files, that had been mailed, shipped and transported by any means and facility of

interstate and foreign commerce, including by computer, and that had been shipped and transported

using any means and facility of interstate and foreign commerce.

       (In violation of Title 18, United States Code, Sections 2252A(a)(2)(A) and (b)(1).)
                                            *   *   * ♦   *




                                                    2
                                    FORFEITURE NOTICE


       Pursuant to Rule 32.2(a) of the Federal Rules of Criminal Procedure, the defendant is

hereby notified that, if convicted of any of the offenses listed in Counts One or Two, the

defendant shall forfeit to the United States his interest in any visual depiction produced.


transported, mailed, shipped, or received in violation of Title 18, United States Code, Sections

2251 et seq., and any property, real or personal, constituting or traceable to gross profits or other

proceeds or used or intended to be used to commit or promote the commission of such offenses.

       (In accordance with Title 18, United States Code, Section 2253.)


                                                       A TRUE BILL:




                                                                                                   A.

                                                       FOREPERSON
       ERIK S. SIEBERT
       United States Attorney

                                                                        Pursuant to the E-Govemment Act,
By:                                                                    the original of this page has been filed
                                                                          under seal in the Cleric’s Office
       Heather Hart Mansfield
       Assistant United States Attorney




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